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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 THE HON. PAULINE NEWMAN,
 Circuit Judge
 United States Court of Appeals for the Federal Circuit,
                                              Plaintiff,
                v.

 THE HON. KIMBERLY A. MOORE,                                            NO. 1:23-CV-01334-CRC
 in her official capacities as
 Chief Judge of the U.S. Court of Appeals for the Federal Circuit,
 Chair of the Judicial Council of the Federal Circuit, and              REPLY TO DEFENDNATS’
 Chair of the Special Committee of the Judicial Council of the          NOTICE (ECF 37)
 Federal Circuit,

 THE HON. SHARON PROST,
 in her official capacity as
 Member of the Special Committee of the Judicial Council of the
 Federal Circuit,

 THE HON. RICHARD G. TARANTO,
 in his official capacity as
 Member of the Special Committee of the Judicial Council of the
 Federal Circuit,

 and

 THE JUDICIAL COUNCIL OF THE FEDERAL CIRCUIT,
 AND ALL MEMBERS THEREOF,

                                                Defendants.



       Plaintiff, the Hon. Pauline Newman, submits this short reply to Defendants’ Notice of January

30, 2024 (ECF37).

       In their Notice, Defendants state “that the Judicial Council would need to ‘take some action’

for the suspension to continue beyond the one-year period stated on the face of the September 20

Order.” ECF 37 at 1 (emphasis in original). While that may be true as a technical matter, on its face,

the September 20 Order states that the Council fully intends to take such an action. In that Order,
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the Judicial Council stated that the “renewable character” of the sanction is “essential to the purpose.”

Sept. 20 Order at 69 (emphasis added). Thus, although some pro forma action may need to be taken

by Defendants to formally extend the suspension, Defendants have admitted that they fully intend to

do so. See also ECF 36 at 4 (“[I]t is entirely unclear when Judge Newman will hear more cases …

[A]bsent relief from the JC&D Committee or through this litigation … [Judge Newman] will not hear

cases….”) (emphasis added).

        Accordingly, whether or not additional formal votes will be required or taken, Defendants’

own actions and statements to this Court confirm that they do not expect or intend to permit Judge

Newman to resume her judicial duties at any point. This is a “a long-term disqualification from cases

[which] by its practical effect, affect[s] an unconstitutional ‘removal.’” McBryde v. Comm. to Rev. Cir.

Council Conduct, 264 F.3d 52, 67 n.5 (D.C. Cir. 2001).


                                                         Respectfully submitted,

                                                         /s/Gregory Dolin
                                                         Gregory Dolin, MD
                                                         Senior Litigation Counsel

                                                         /s/John J. Vecchione
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